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                                                 RIMKUS CONSULTING GROUP, INC.
                                                    TERMS AND CONDITIONS
                                                      Effective March 14, 2022

(1.) These Terms and Conditions apply to the retention and work of             others only upon Client's specific instructions or court order. To the
Rimkus Consulting Group, Inc., its affiliates, and subcontractors              extent possible, Company will use reasonable efforts to notify Client of
(“Company”) on behalf of client (“Client”). Unless stated in writing           any ordered production. Client acknowledges that as a registered
otherwise, Company’s services are limited to providing professional            engineering firm, Company has certain obligations under the rules
advice, judgments, and/or opinions for the exclusive use of Client. No         and regulations governing the practice of engineering. As such,
other person or entity shall use the work performed hereunder without          without regard to the foregoing confidentiality provisions, Company
the express written consent of Company.                                        reserves the right to make any and all notifications Company deems
                                                                               necessary to comply with professional responsibilities.
(2.) Any of the following acts by Client shall constitute acceptance of
these Terms and Conditions: signing and returning a copy of the                (7.) In order for Company to consistently maintain the quality of its
Confirmation of Assignment Letter; the continued use of Company on             services, Client agrees to promptly notify Company of any legal
the assignment; or any request for services to be performed by                 proceeding challenging the basis, opinion, or testimony of Company
Company after Client’s receipt of the Terms and Conditions. No                 professional(s) assigned to Client’s project. The notice provided
changes, edits, additions or different terms shall be effective unless         by Client following the assertion of any objection, motion, or other
specifically agreed to in writing and signed by an authorized                  legal proceeding in the nature of a challenge to the admissibility or
representative of Company. An email shall not suffice as evidence of           basis of the expert work of Company professional shall be in writing
Company’s written and signed acceptance of Client-made changes,                and include the style of the case, the case number, and court in
edits, or additional or different terms or conditions. Client agrees that in   which the challenge has been asserted as well as the nature of the
the event Company expedites commencement of work for Client, these             challenge. Company reserves the right to take all steps necessary
Terms and Conditions shall apply to all work performed by Company and          to respond to any challenge to the professional’s opinion or
Client hereby waives and releases any claim or defense contesting the          testimony, including interceding on the professional’s behalf with
applicability of these Terms and Conditions or arising from or related to      written motion and briefing, and Client agrees to cooperate with
Company commencing work prior to Client receipt of these Terms and             Company to facilitate Company’s response. Client further agrees to
Conditions.                                                                    expeditiously provide Company and the Company professional assigned
                                                                               to Client’s project all information, facts, discovery materials and other
(3.) Client represents that the work performed hereunder will be used          records necessary for Company to perform its work in a timely and
exclusively by Client and solely for Client's benefit. There shall be no       professional manner.
third-party beneficiaries to this Agreement. If Client uses an agent to
retain Company, Client represents that its agent has full authority to         CHARGES FOR SERVICES
act for Client and Client assumes complete responsibility for the acts
of its agent and shall be responsible for payment to Company for               (8.) All services are provided on a time-and-expense basis. Client may
all work performed at the request of Client’s agent. An agent includes         request an estimate of time or cost required for a project, but unless
a Client's attorney or third party adjuster or administrator. In the event     expressly agreed to in writing by Company to the contrary, estimates
the assignment that is the subject matter of Company’s retention shall         are for Client’s budgeting purposes only and are based upon the
become involved in litigation, arbitration, or any other formal dispute        information provided to Company at the time of the estimate. No
resolution procedure, Client hereby represents and agrees that Client          cost estimate shall be construed as a fixed-price quotation.
shall immediately provide Company notice of such development
including the style of the case, the case number, and the identity of the      (9.) All time expended for the assignment will be billed, including but
court or arbitration proceeding. Notice shall be provided by Client in         not limited to investigations, site visits, travel, Client meetings,
writing via email to legal@rimkus.com.                                         calculations, review of standards and authorities, creation or review of
                                                                               specifications and drawings and documents, preparation of reports,
(4.) Client may instruct Company to cease work o n a n y                       technical reviews, preparation for testimony, testimony in deposition or
a s s i g n m e n t . T h e instruction by Client to cease work must be in     trial, court waiting time and/or standby time.
writing and sent via e-mail to legal@rimkus.com. Company may
terminate any assignment under these Terms and Conditions at any               (10.) Company will use its best efforts to minimize travel costs on
time w i t h o r without cause, including, but not limited to, the             domestic and international trips associated with project work. Subject
development of a material conflict of interest, judicially required            to availability, on flights under five hours in duration, we will utilize
participation in onerous discovery or other legal process outside              economy class refundable airfare. For flights in excess of five hours,
the intended scope of the work, the failure of Client to pay amounts           Company professionals will fly business class, if available, or first class,
due Company in a timely manner, and Client restrictions that impede            if not available.
or impair Company's ability to comply with generally accepted
professional practices or engineering rules and regulations. These             (11.) Company will invoice Client for services provided and expenses
Terms and Conditions shall survive any cessation of work and shall             incurred during each billing period. All services will be invoiced at tenths
continue to govern the rights and duties of Company and Client.                of an hour, with any excess rounded up. Invoices are due upon receipt.
                                                                               Interest on unpaid balances more than sixty days old will be charged at
(5.) Company’s work can involve areas or locales suffering from                the rate of 6% per annum. To the extent Client disputes any portion of
catastrophic weather events or man-made disasters. As such, an event           an invoice, all undisputed portions shall remain due and payable as set
of force majeure shall mean any unforeseeable circumstance due to              forth on the invoice. In the event Client disputes any invoice, or any
any cause beyond the reasonable control of Company including,                  portion thereof, Client shall make its dispute in writing to Company
without limitation, hurricane, tornado, flood, fire, governmental act or       setting forth the disputed matter with such particularity as to provide
regulation, act of God, embargo, war, strike, lockout, pandemic, labor         Company with reasonable notice of the dispute. Client shall present any
interruption, shortage of labor, serious accident, breakdown or partial        such dispute to Company within forty-five (45) days of Client’s receipt
failure of machinery, shortage of materials and/or means of transport or       of the disputed invoice. Unless Client provides notice of an invoice
energy that occurs after the acceptance of an assignment pursuant to           dispute in the time frame provided herein (45 days of receipt of the
these Terms and Conditions and prevents the performance of all or part         disputed invoice) Client shall be deemed to have accepted the work,
thereof. The occurrence of an event of force majeure shall cause               and released and waived any dispute or contest regarding the quality,
temporary suspension of Company’s obligations for a period equal to            reasonableness, and necessity of the work performed and the amounts
the period of the continuing force majeure or the consequences thereof,        charged on the invoice. Payment shall be made in U. S. dollars in
without any liability or compensation to Client.                               Houston, Texas. Payments from foreign countries must be made by
                                                                               wire transfer in U.S. dollars as directed by Company. Without prejudice
(6.) Company files and reports are developed for our Client's use.             to any other available remedy, Company may withhold delivery of
Company will treat all information, conclusions, and results of our            reports or data, either written or oral, and may              suspend the
investigation as confidential. Company will release information to             performance of any further service obligations to Client pending the




                                                                                                                                     EXHIBIT C
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payment of all invoices.                                                       fees, fines, judgments, litigation expenses, and causes of action
                                                                               of every kind and character arising from, occurring in connection
(12.) Company personnel are not required to appear for depositions,            with, or in any manner related to Client’s representations as set
trials, or hearings pertaining to an assignment unless all previous            forth herein concerning the items or Company’s possession,
billings on this assignment have been fully paid. Company, at its sole         storage, transport, and disposal of the items.
discretion, may require Client to advance payments for the estimated
time charges and expenses in        connection with requested work,
including appearances at hearings or providing testimony at deposition         LIMITATION OF LIABILITY
or trial.
                                                                               (18.) THE TOTAL LIABILITY OF COMPANY AND ITS DIRECTORS,
(13.) In any project, claim, cause of action, investigation, inquiry, or       OFFICERS, SHAREHOLDERS, EMPLOYEES, AGENTS, PARENT
other circumstance (specifically including requests by governmental            COMPANIES, SUBSIDIARIES, AFFILIATES, CONTRACTORS, AND
agencies or representatives) wherein Company is requested, required,           SUBCONTRACTORS, FOR ANY CONDUCT OR SERVICES
cited, subpoenaed, ordered or compelled to appear, testify, submit to          RELATED TO OR ARISING UNDER THE AGREEMENT, WHETHER
questions, provide deposition testimony, produce documents or records          IN TORT OR CONTRACT, SHALL BE LIMITED TO ACTUAL
(including electronic media) or in any other way respond regarding or          DAMAGES SUSTAINED BY CLIENT AND SHALL NOT EXCEED THE
arising out of work performed by Company for Client, Client shall              TOTAL AMOUNT OF PAYMENTS CLIENT MADE TO COMPANY ON
compensate Company for all time spent and            expenses incurred,        THE ASSIGNMENT, AND SUCH AMOUNT SHALL BE THE SOLE,
including time spent in preparation and reasonable attorneys’ fees and         COMPLETE, AND EXCLUSIVE REMEDY OF CLIENT. IN NO EVENT
expenses, in connection with Company’s          response. To the extent        SHALL COMPANY, ITS DIRECTORS, OFFICERS, SHAREHOLDERS,
possible, Company will give notice to Client of the requested action;          EMPLOYEES, AGENTS, PARENT COMPANIES, SUBSIDIARIES,
however, failure of Company to give notice or failure of Client to             AFFILIATES, CONTRACTORS, OR SUBCONTRACTORS BE LIABLE
respond will not obviate Client’s obligation to compensate Company in          FOR ANY OTHER DAMAGES, EXPENSES, OR COSTS, INCLUDING
conformity with the foregoing.                                                 DIRECT, INDIRECT, INCIDENTAL, SPECIAL, CONSEQUENTIAL,
                                                                               LOSS OF USE, LOSS OF PROFIT, LOSS OF INVESTMENT
EXECUTION AND SCOPE OF WORK                                                    DAMAGES, COSTS OF SUIT, OR ATTORNEYS' FEES.

(14.) Client assumes full and complete responsibility for all uses of the      (19.) COMPANY SHALL HAVE THE RIGHT TO OFFSET ANY
work, Company’s report(s), the items stored by Company at the                  DAMAGES CLAIMED BY CLIENT BY THE AMOUNT OF ANY
request of Client, and all recommendations developed under the                 OUTSTANDING INVOICES OWED BY CLIENT TO COMPANY. TO
assignment. Unless Client requests in writing a specific Company               THE FULLEST EXTENT ALLOWABLE BY LAW, THE CLIENT
professional to perform the work requested by Client, Company, at              WAIVES ANY RIGHT OF CONTRIBUTION AGAINST COMPANY.
Company's sole discretion, shall assign the professional(s) who will
perform Company's work.                                                        ENTIRE AGREEMENT

(15.) Company will perform its work in accordance with generally               (20.) The Terms and Conditions and the Confirmation of Assignment
accepted professional practices and consistent with the professional           Letter shall form the entire agreement between Company and Client
skill and care ordinarily provided by professionals practicing in the same     related to the subject assignment and supersedes all prior agreements
or similar locality under the same or similar circumstances. Except            and understandings, oral or written, between the parties concerning the
for the foregoing express warranty Company hereby disclaims all                subject assignment. No oral representations of any officer, agent, or
warranties, whether express, implied, statutory                 or other.      employee of Company or Client, either before or after acceptance of
Company makes no warranties, express or implied, regarding                     this agreement, shall affect or modify any obligation of either party
the outcome of any investigation. Company                      makes no        hereunder. Client agrees that it has not relied on or been induced to
guarantees or warranties and assumes no obligations except those               enter into this agreement by any representations, statements, or
expressly stated herein.                                                       warranties of Company or any officer, agent, or employee of Company,
                                                                               other than those expressly stated herein. Unless specifically agreed to
(16.) Company shall retain all rights, title, and interest in and to its       in writing and signed by an authorized representative of Company, any
proprietary information (along with any modifications or improvements          additional or different terms proposed by Client in any purchase order,
to such information), including, but not limited to Company’s know-            request for quotation, acknowledgement, or other document are hereby
how, methodologies, techniques, processes, tools, test fixtures,               deemed to be material alterations, and notice of objection to them is
technologies, trade secrets, software, data, databases, algorithms,            hereby given. The parties intend to avoid a battle of pre-printed forms
source code, computational engines, logic formulas, non- interface             with the use of this Agreement as the controlling Agreement, to the
worksheets, macros, and other materials used by Company in                     exclusion of all others. Company’s contractual engagement with Client
connection with providing its services. Company’s policy is to maintain        is expressly made conditional on Client’s assent to the terms and
a complete written file on each assignment for a period of three years         conditions contained in this Agreement.
from the last professional services performed on the assignment.
Thereafter, the complete written file will be maintained only on written       (21.) Any dispute or other proceeding arising out of or relating to these
instructions to do so from Client and payment of applicable storage            Terms and Conditions or their subject matter or formation (including
fees.                                                                          non-contractual disputes or claims) shall be exclusively adjudicated by
                                                                               a Texas state court of competent jurisdiction in Montgomery County,
(17.) When requested, Company will take possession of items that may           Texas, and the parties hereby irrevocably consent and submit to the
be associated with or incidental to Company’s investigation and report.        personal jurisdiction of the State of Texas and waive all objections and
Client agrees to pay all handling and storage fees as set forth herein         defenses to personal jurisdiction in said courts and venue in
for all items stored by Company. Client represents that any items              Montgomery County, Texas. These Terms and Conditions are
stored by Company at the request of Client are the property of Client          governed by the laws of the State of Texas, and all claims relating to or
and Client has all right and title to such items. For all requests by Client   arising out of this Contract, whether sounding in contract, tort, or
to Company to dispose of stored items, Client represents and warrants          otherwise, shall be governed by the laws of the State of Texas. The
that it has all necessary authority and permission to order such               laws of the State of Texas shall apply without giving effect to any choice
disposal, including approval from any and all entities or individuals that     or conflict of law provision or rule (whether of the State of Texas or any
claim any right to, or interest in, the items. Any and all expenses, fees,     other jurisdiction). In any suit between Client and Company arising from
costs, penalties, legal fees or other charges of any kind claimed against      or related to the subject assignment wherein Company is the prevailing
or incurred by Company as a result of Client's request that Company            party, Company shall be entitled to recover its reasonable attorneys’
store items shall be paid by Client, or reimbursed by Client to Company.       fees, expenses, and costs from Client.
To the fullest extent permitted by law, Client assumes the entire
responsibility and liability for the items, and agrees to protect,
defend, indemnify and hold Company and its subsidiaries, parent
companies, affiliates, officers, directors, members, agents,
representatives, consultants, servants, employees, contractors,
and subcontractors harmless from and against any and all claims,
demands, losses, costs, liabilities, penalties, expenses, attorneys’
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                                                                 PROFESSIONAL FEES SCHEDULE
                                                                             Effective March 14, 2022

1.   Professional Fees. Company charges for services provided according to the skill level required by the assignment. Work performed on a time and
     expense basis will be charged in accordance with the Professional Fees Schedule listed below. The rates below reflect those of personnel within the
     practice area that Rimkus deems relevant to the assignment at its inception. Rimkus reserves the right, as the course of the assignment progresses and
     its subject matter clarifies, to assign personnel within different practice areas, some of whom may have rates greater or lesser than, or equal to, the rates
     provided below. Work performed on any fixed price contracts will be charged at the agreed fixed amount. Rates for professional consulting
     services, report preparation, depositions, and court appearances are:

                 Officer/Director ……………………………………………………………………………………. $ 385-520 per hour
                 District Manager/Practice Leader...................................................................................... $ 350-455 per hour
                 Associate Director/Principal Consultant ............................................................................ $ 350-430 per hour
                 Senior Consultant............................................................................................................. $ 315-370 per hour
                 Senior Fire Consultant...................................................................................................... $ 295-350 per hour
                 Consultant/Fire Consultant .............................................................................................. $ 285-340 per hour
                 Associate Consultant........................................................................................................ $ 260-290 per hour
                 Graphic Artist/Senior Technician ...................................................................................... $ 250-285 per hour
                 Technician ....................................................................................................................... $ 230-260 per hour
                 CAD/Technical Specialist ................................................................................................. $ 230-245 per hour
                 Project Assistant .............................................................................................................. $ 180-195 per hour
                 Administrative Assistant ................................................................................................... $ 145-155 per hour
                 Specialized Consulting Services .......................................................................................................... quoted

2.   At the discretion of Company, a retainer may be required in advance of or during the performance of any services. Such retainer payments will
     be credited to Client's account. Any unused portion of the retainer following the final invoice by Company will be refunded.

3.   Fixed-rate expenses are charged at our rates listed below. Travel and other incidental expenses are charged at cost. If requested, we will
     provide storage of items at a fee as listed below. Moving and disposal costs of stored items will be paid by Client. Costs of personnel to assist in
     the evidence viewing and testing of stored items will be billed to Client.

4.   When third-party laboratory work, equipment usage, materials purchasing or testing services are required, a 15% handling charge will be assessed.

5.   The fees shown on this schedule shall remain in effect through December 31, 2022. Beginning January 1, 2023, a new fee schedule will become
     effective. All services provided on assignments performed after January 1, 2023, will be invoiced in accordance with the Professional Fees
     Schedule in effect at the time the services are provided.

6.   Payment of taxes such as sales and use tax, gross receipts tax or mandatory taxes of any kind required to be collected or withheld from payments
     to Company are the responsibility of Client.

                                                                                Fixed Rate Expenses

         Personal Vehicles Used On the Assignment…………………………………………………………....                                                                   $0.90/Mile
         Item Handling Fee………………………………………………………………………………………….                                                                                 $250.00
         Item Storage
            ▪ Items Smaller than 1.5 Cubic Foot Volume……………………………………………………......                                                              $100.00/Month*
            ▪ Items Greater than 1.5 Cubic Foot Volume……………………………………………………......                                                              $150.00/Month*
            ▪ Large/Special Handling (Larger Than 500 Cubic Foot Volume or More Than 1,000 Pounds).                                           To Be Quoted*
         Disposal of Items…………………………………………………………………………………………...                                                                               Cost + 15%
         * Billed Quarterly

         Abrites Key/FOB Scanner………………………………………………………………………………....                                                                            $250.00/Use
         Accelerometer………………………………………………………………………………………………                                                                                    $25.00/Use
         Air Sampling Equipment…………………………………………………………………………………...                                                                             $80.00/Use
         Alldata………………………………………………………………………………………………………..                                                                                     $30.00/Use
         Autostats…………………………………………………………………………………………………….                                                                                     $20.00/Use
         Berla iVe Infotaintment System Download………………………………………………………………                                                                      $200.00/Use
         BOT 3000 Tribometer……………………………………………………………………………………...                                                                               $250.00/Use
         Brungraber MK I Tribometer………………………………………………………………………………                                                                             $450.00/Use
         Brungraber MK III Tribometer……………………………………………………………………………..                                                                          $250.00/Use
         Calilbrated Photographs…………………………………………………………………………………...                                                                            $25.00/Print
         Chim Scan – Chimney Scanning Equipment……………………………………………………………                                                                        $100.00/Use
         Diesel Engine Download…………………………………………………………………………………..                                                                              $395.00/Vehicle
         Digital Mapping Equipment………………………………………………………………………………..                                                                            $300.00/Mapping
         Drone - Infrared………………………………………………………………………………………...…..                                                                              $500.00/Use
         Drone - Standard …………………………………………………………………………………………..                                                                                $275.00/Use
         EL Camera…………………………………………………………………………………………………..                                                                                     $750.00/Use
         Electrical Resistivity Tomography (ERT) ………………………………………………………………..                                                                   $250.00/Use
         Elevator Ride Quality Monitor……………………………………………………………………………..                                                                         $150.00/Use
         Encrypted USB Drive (1 GB) (Photos / Client Data) …………………………………………………..                                                              $50.00/Drive
         English XL Tribometer……………………………………………………………………………………..                                                                              $250.00/Use
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FARO 3D Laser Scanner…………………………………………………………………………...……..                  $765.00/Use
FT-IR Advanced Spectrometer……………………………………………………………………….…..                $350.00/Use
Ground Penetrating Radar (GPR) ……………………………………………………………………….               $250.00/Use
GS-1 Walkway Tribometer………………………………………………………………………….……..                  $250.00/Use
High Definition Digital Camera…………………………………………………………………….….…..            $250.00/Use
HVE-2D………………………………………………………………………………………………….…..                           $50.00/Use
HVE-3D………………………………………………………………………………………………….…..                           $100.00/Use
Illuminance Meter…………………………………………………………………………...………….…..                  $150.00/Use
Infrared Camera …………………………………………………………………………………….……..                     $75.00/Day
Keyence VHX-5000 Digital Microscope…………………………………………………………..……..           $500.00/Use
Lab Usage Fee - Large……………………………………………………………………………..……..                  $500.00/Use
Lab Usage Fee - Small…………………………………………………………………………..………..                  $250.00/Use
Luminance Meter…………………………………………………………………………………….……..                      $350.00/Use
Materials Hardness Tester………………………………………………………………………….……..                $100.00/Use
Matlab Photography………………………………………………………………………………………..                     $600.00/Use
Matterport 3D Camera
   ▪ Less than 2,000 square feet…………………………………………………………………………              $150.00/Use
   ▪ 2,000 square feet up to 3,500 square feet…………………………………..……………………..   $225.00/Use
   ▪ Over 3,500 square feet…………………………………………………………………..…………..              $300.00/Use
Mold Sampling Media……………………………………………………….……………………………..                    $10.00/Each
Night Time Camera Equipment………………………………………………………………….………..                $150.00/Use
Passenger Download (CDR) ……………………………………………………………………………..                  $260.00/Vehicle
Personal Protective Equipment - Large………………………………………………...………………..        $50.00/Use
Personal Protective Equipment - Small……………………………………………...…………………..        $25.00/Use
Photocopies: Black & White……………………………………………………………..………………..               $0.25/Print
Photocopies: Color…………………………………………………………………………..……………..                   $1.50/Print
Photographs: Digital………………………………………………………………………………………..                   $0.50/Photo
Pictometry/Nearmap Aerial Images……………………………….……………………………………..             $30.00/Use
Roof Scanner - Large………………………………………………………………………………………                     $250.00/Use
Roof Scanner - Small………………………………………………………………………………………                     $75.00/Use
Rope Access Equipment…………………………………………………………………………………..                    $150.00/Use
Scanning Electron Microscope/EDS……………………………………………………………………..              $150.00/Hour
Thermogravimetric Analysis (TGA) ……………………………………………………………………...            $350.00/Use
Track Mounted Robot……………………………………………………………………………………...                    $250.00/Use
UT Thickness Tester……………………………………………………………………………………….                     $100.00/Day
Various Specialized Software Applications As Required………………………………………………   Quoted Rates
VC 2000/3000/4000………………………………………………………………………………………..                      $165.00/Use
Vibration Monitoring Equipment………………………………………………………………………..…              $250.00/Use
X-Rays (Portable)…………………………………………………………………………………………..                     $75.00/File + $10.00/image
